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                                                    THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9          UNITED STATES OF AMERICA,                      CASE NO. CR09-0061-JCC
10                            Plaintiff,                   ORDER
11                    v.

12          BONY KUY,

13                            Defendant.
14

15          This matter comes before the Court on defense counsel Michael G. Martin’s motion to
16   withdraw as counsel and for appointment of the Federal Public Defender to represent Defendant
17   Bony Kuy (Dkt. No. 179). Having thoroughly considered the unopposed motion and the relevant
18   record, the Court finds good cause and GRANTS the motion. The Court hereby ORDERS that
19   the Federal Public Defender is appointed to represent Mr. Kuy in the above-captioned matter.
20          DATED this 20th day of February 2018.




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                                                        John C. Coughenour
24                                                      UNITED STATES DISTRICT JUDGE
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     ORDER
     CR09-0061-JCC
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